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   8
                           UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
   10
        TERRY CARSON
   11
                      Plaintiff(s),               CASE NO:
   12
                                                  8:17−cv−02232−JVS−KES
             v.
   13
      EXPERIAN INFORMATION SOLUTIONS,             I. ORDER FOR JURY TRIAL
   14 INC.                                           SETTING DATES FOR:

   15                                                  Pre−Trial Conference:
                                                       October 28, 2019
   16                Defendant(s).                     at 11:00 AM

   17                                                  JURY TRIAL:
                                                       November 12, 2019
   18                                                  at 08:30 AM

   19                                             II. Order for Preparation
                                                      for JURY TRIAL
   20
                                                  III. Order Governing Attorney and
   21                                                  Party Conduct at trial.
   22
   23
   24
   25
                                                  I.
   26
        SCHEDULING:
   27        1.   In General: All motions to join other parties or to amend the
   28   pleadings shall be filed and served within sixty (60) days of the date of this order

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        and noticed for hearing within ninety (90) days hereof. All unserved parties shall
   2    be dismissed no later than the date set for the Final Pre−Trial Conference.
   3
   4         2.   Motions for Summary Judgment or Partial Summary Judgment:
   5    Motions for summary judgment or partial summary judgment shall be heard no
   6    later than the last day for hearing motions, as set forth in the accompanying minute
   7    order.
   8
   9         3.   Motion Index: If any motion or set of motions concurrently
   10   noticed involves more than three pleadings, the moving party shall file within
   11   three days of filing an index of the moving papers (e.g., notice, memorandum of
   12   Points and authorities, declaration) with the names of each pleading and the docket
   13   number. Within three days of filing reply papers, the moving party shall file an
   14   updated index of all moving papers, all opposition papers, and all reply papers
   15   with the name of each pleading and the docket number. Where redacted pleadings
   16   have been filed, the index should refer to the undredacted version.
   17
   18        4.   Discovery Cut−Off: The Court has established a cut−off date for
   19   discovery in this action. All discovery is to be completed on, or prior to, the cut−
   20   off date. Accordingly, the following discovery schedule shall apply to this case:
   21
   22             A.   Depositions: All depositions shall be scheduled to
   23   commence at least five (5) working days prior to the discovery cut−off date. All
   24   original depositions to be used in trial shall be lodged with the Courtroom deputy
   25   on the first day of trial or such earlier date as the Court may order.
   26
   27             B.   Interrogatories: All interrogatories must be served at least
   28   forty−five (45) days prior to the discovery cut−off date. The Court will not approve

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        stipulations between counsel that permit responses to be served after the cut−off
   2    date except in extraordinary circumstances.
   3
   4                C.   Production of Documents, etc.: All requests for production,
   5    etc., shall be served at least forty−five (45) days prior to the discovery cut−off date.
   6    The Court will not approve stipulations between counsel that permit responses to
   7    be served after the cut−off date except in extraordinary circumstances.
   8
   9                D.   Request for Admissions: All requests for admissions shall
   10   be served at least forty−five (45) days prior to the discovery cut−off date. The
   11   Court will not approve stipulations between counsel that permit responses to be
   12   served after the cut−off date except in extraordinary circumstances.
   13
   14               E.   Discovery Motions: Any motion respecting the inadequacy
   15   of responses to discovery must be filed and served not later than ten (10) days
   16   after the discovery cut−off date. Whenever possible, the Court expects counsel to
   17   resolve discovery problems among themselves in a courteous, reasonable, and
   18   professional manner. Repeated resort to the Court for guidance in discovery is
   19   unnecessary and may result in the Court appointing a Special Master at the joint
   20   expense of the parties to resolve discovery disputes. The Court expects that
   21   counsel will strictly adhere to the Civility and Professional Guidelines adopted by
   22   the United States District Court for the Central District of California.
   23
   24               F.   Disclosure of Expert Testimony: The above discovery cut
   25   off date includes expert discovery, unless otherwise ordered by Court, and the
   26   Court orders the sequence of disclosures provided by Fed. R. Civ. Proc.
   27   26(a)(2)(C), unless the parties otherwise stipulate in writing and obtain the Court’s
   28   approval.

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        FINAL PRE−TRIAL CONFERENCE:
   2
   3          This case has been placed on calendar for a Final Pre−Trial
   4    Conference pursuant to Fed. R. Civ. P. 16. Strict compliance with the
   5    requirements of the Fed. R. Civ. P. and Local Rules are required by the Court.
   6
   7                                             II.
   8
   9    ORDER FOR PREPARATION FOR JURY TRIAL, MOTIONS,
   10   INSTRUCTIONS, AND EXHIBITS
   11
   12         The Court ORDERS that all counsel comply with the following in
   13   their preparation for trial:
   14
   15         1.   MOTIONS IN LIMINE:
   16
   17         All motions in limine must be filed and served a minimum of four (4)
   18   weeks prior to the scheduled pretrial date in accordance with Local Rule 6. Each
   19   motion should be separately filed and numbered. All opposition documents must
   20   be filed and served at least three (3) weeks prior to the scheduled pretrial date. All
   21   reply documents must be filed and served at least two (2) weeks prior to the
   22   scheduled pretrial date. Motions in limine should be used to raise legitimate
   23   evidentiary issues, and not as veiled motions for summary adjudication.
   24
   25         The Court limits the number of in limine motions which a party or
   26   group of affiliated parties may file to four, not including (1) any in limine motion
   27   which seeks an exclusionary sanction under Rule 37(c)(1) of the Federal Rules of
   28   ///

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        Civil Procedure and (2) any in limine motion which invokes the Court’s power
   2
        under Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell Dow
   3    Pharmaceuticals, 509 U.S. 579, 597 (1993), to exclude or limit expert testimony.
   4    Motions made on the latter two grounds shall prominently state the basis for the
   5    motion in the title of the motion on the caption page. Any party desiring to tender

   6    any other in liminemotions shall file an ex parte application no later than seven
   7    days prior to the due date for such motions, attaching the proposed motion and

   8    making a showing why it is imperative that the issue be dealt with by a motion in
   9    limine.
   10
   11        The Court deems the following motions to have been made and
   12   granted:
   13
   14        • Exclusion of evidence of settlement talks, offers of compromise and
   15   similar evidence excludable under Federal Rule of Evidence 408 without an offer
   16   of proof first made outside the presence of the jury.
   17
   18        • Exclusion of expert opinions not disclosed under Rule 26(a)(2) of
   19   the Federal Rule of Civil Procedure or otherwise subjected to examination at the
   20   expert’s deposition.
   21
   22        All motions in limine will be heard on the scheduled pretrial date,
   23   unless the Court otherwise orders.
   24
   25        2.    JURY INSTRUCTIONS, VERDICT FORMS, and VOIR:
   26   DIRE:
   27
   28        Jury Instructions. Thirty days prior to trial, counsel shall meet and

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        confer for the purpose of submitting a single packet of proposed jury instructions
   2    and objections. The packet shall contain all instructions desired by any party on
   3    all subjects, and shall be organized in the order to be given.
   4
   5         • If an instruction is agreed and joint, it shall be so labeled.
   6
   7         • If the parties submit alternatives instructions on a topic, they shall
   8         be labeled A, B, C etc. (e.g., Party A’s Proposed Instruction No. 2A).
   9         Immediately behind the instruction, the party shall provide a
   10        statement of law in support of its version and any legal objection to
   11        the other party’s proposal.
   12
   13        • If only one party submits an instruction on a topic, the party shall
   14        provide immediately behind the instruction a statement of law in
   15        support of its instruction. If there is any opposition, it shall appear
   16        immediately behind the proponent’s statement.
   17
   18   The single packet shall be filed no later than seven days prior to the trial. At the
   19   same time, the parties shall also submit a WordPefect version to the
   20   JVS_Chambers@cacd.uscourts.gov e−mail box. The Court will entertain such
   21   additional instructions as may be warranted by the evidence offered at trial.
   22
   23        If a proposed instruction is a modification of a pattern instruction,
   24   such as a Ninth Circuit Model Instruction or a CACI instruction, the proponent
   25   shall also include in the packet a version showing all deletions and additions to
   26   the pattern instruction, using bolding, italic, strike outs or similar means.
   27
   28        The parties need not submit preliminary instruction to be given at the

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        outset of trial, but they may submit additional instructions or revisions of the
   2    Court’s standard initial instructions. See the Court's website for set of Exemplar
   3    Initial Jury Instructions in pdf. at the bottom of the page:
   4    http://156.131.20.221/CACD/JudgeReq.nsf/2fb080863c88ab47882567c9007fa070/
   5    fd063442150e12a3882579f5006b081e?OpenDocument
   6         Proposed Verdict Form. On the first day of trial, plaintiff shall file
   7    and serve plaintiff’s verdict form on defendant.
   8
   9         Voir Dire. At least four (4) court days prior to trial, each counsel
   10   shall file and serve on opposing counsel any special questions requested to be put
   11   to prospective jurors on voir dire.
   12
   13        3.   TRIAL EXHIBITS
   14
   15        Counsel are to prepare their exhibits for presentation at the trial by
   16   placing them in binders that are indexed by exhibit number with tabs or dividers
   17   on the right side. Counsel shall submit to the Court an original and one copy of
   18   the binders. The exhibits shall be in a three−ring binder labeled on the spine
   19   portion of the binder showing both the volume number and the exhibit numbers
   20   and contain an index of each exhibit included in the volume. Exhibits must be
   21   numbered in accordance with Fed. R. Civ. P. 16, 26, and the Local Rules.
   22   (Please see alternate instructions at Page 15 if the total number of exhibits,
   23   for all parties exceeds 10 volumes.)
   24
   25        The Court requires that the following be submitted to the Courtroom
   26   Deputy Clerk on the first day of trial:
   27
   28             A.   The original exhibits with the Court’s exhibit tags shall be

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        stapled to the front of the exhibit on the upper right−hand corner with the case
   2    number, case name, and exhibit number placed on each tag.
   3
   4              B.    One bench book with a copy of each exhibit for use by the
   5    Court, tabbed with numbers as described above. (Court’s exhibit tags not
   6    necessary.)
   7              C.    Three (3) copies of exhibit lists, plus an electronic copy in
   8    WordPerfect® 6.0 or later generations of WordPerfect®. E−mailing the electronic
   9    copy to the Courtroom Deputy is the most convenient to accomplish this.
   10
   11             D.    Three (3) copies of witness lists.
   12
   13             E.   A joint statement of the case suitable for reading by the
   14   Court to the prospective panel of jurors prior to the commencement of jury
   15   selection. Counsel are ordered to confer and agree to a one−page joint statement of
   16   the case no later than five (5) days prior to the trial date.
   17
   18        All counsel are to meet not later than ten (10) days before trial and to
   19   stipulate so far as is possible as to foundation, waiver of the best evidence rule,
   20   and to those exhibits which may be received into evidence at the start of trial. The
   21   exhibits to be so received will be noted on the extra copies of the exhibit lists.
   22
   23                                            III.
   24
   25   ORDER GOVERNING ATTORNEY AND PARTY CONDUCT AT TRIAL:
   26   Opening Statements, Examining Witnesses, and Summation
   27
   28        A.    Unless otherwise ordered, the trial day will be 9:00 a.m. to noon

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        and 1:30 p.m. to 4:30 p.m. with a 15 minute break during each session.
   2
   3         B.   At the end of each day, counsel presenting his or her case shall
   4    advise opposing counsel of the witnesses anticipated the following day with an
   5    estimate of the length of direct examination. Opposing counsel shall provide an
   6    estimate of the length of cross–examination. Cooperation of counsel will ensure a
   7    smooth flow of witnesses.
   8
   9         C.   Opening statements, examination of witnesses, and summation
   10   will be from the lectern only. Counsel must not consume time by writing out
   11   words or drawing charts or diagrams. Counsel may do so in advance and explain
   12   that the item was prepared earlier as ordered by the Court to save time.
   13
   14        D.   In final argument of jury cases, counsel must avoid addressing
   15   any juror by name and avoid any appeal to a juror to put himself or herself in the
   16   position of a party, such as "What would you take for such pain?" or "What would
   17   you expect your son or daughter to do in the same circumstances?"
   18
   19        E.   In criminal cases, defense counsel should avoid asking their client
   20   self−serving questions such as whether the client is married, has children, has a
   21   war record or has ever been arrested. Such questions are almost always irrelevant
   22   Where such information would be relevant in counsel’s opinion, counsel should
   23   obtain permission from the Court prior to making such inquiries.
   24
   25        F.   Never strike the lectern for emphasis.
   26
   27        G.    The Court will honor reasonable time estimates for opening and
   28   closing addresses to the jury. Please be advised this Court will not require a jury

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         to sit longer than 60 minutes in any one session during counsel’s summation.
    2
    3    Objections to Questions:
    4
    5         A.    Counsel must not use objections for the purpose of making a
    6    speech, recapitulating testimony, or attempting to guide the witness.
    7         B.     When objecting, counsel must rise to state the objection and state
    8    only that counsel objects and the legal ground of objection. If counsel wishes to
    9    argue an objection further, counsel must ask for permission to do so; the Court
    10   may or may not grant a request for conference at sidebar. The Court strongly
    11   discourage sidebars because they represent an inefficient use of jury time when
    12   matters can be anticipated.
    13
    14   General Decorum:
    15
    16       A.    Please keep the trial low−key. It is not a contest of dramatic ability or
    17   an oratorical contest. It is to be a dignified search for the truth.
    18
    19       B.    Counsel must not approach the Clerk or the witness box without
    20   specific permission. When permission is given, please return to the lectern when
    21   the purpose of the permission is finished. Counsel must not engage in questioning
    22   a witness at the witness stand.
    23
    24       C. Please rise when addressing the Court and rise when the jury enters or
    25   leaves the courtroom.
    26
    27       D.    Counsel must address all remarks to the Court. Counsel are not to address
    28   the Clerk, the Reporter, persons in the audience, or opposing counsel. If counsel

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         wishes to speak with opposing counsel, counsel must ask permission to talk off the
    2    record. Any request for the re−reading of questions or answers shall be addressed to
    3    the Court.
    4
    5        E.    Counsel must not address or refer to witnesses or parties by first names
    6    alone. Young witnesses (under 14) may, however, be addressed and referred to
    7    by their first name.
    8        F.    Counsel must not make an offer of stipulation unless counsel has conferred
    9    with opposing counsel and has reason to believe the stipulation will be acceptable.
    10
    11        G.      While Court is in session, counsel must not leave counsel table to
    12   confer with any personnel or witnesses in the back of the courtroom unless
    13   permission has been granted in advance.
    14
    15        H.      Counsel should not by facial expression, nodding or other conduct
    16   exhibit any opinion, adverse or favorable, concerning any testimony being
    17   given by a witness. Counsel should admonish counsel's own client(s) and
    18   witnesses to avoid such conduct.
    19
    20        I.   Where a party has more than one lawyer, only one may conduct the
    21   direct or cross−examination of a given witness.
    22
    23   Promptness of Counsel and Witnesses:
    24
    25        A.      The Court makes every effort to commence proceedings at the time
    26   set. Promptness is expected from counsel and witnesses. It is counsel’s duty of the
    27   first day of trial to advise the Court on the first day of any commitments that may
    28   result in counsel’s absence or late arrival.

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              B.     If a witness is on the stand when a recess is taken, it is counsel’s duty
    2    to have the witness back on the stand, ready to proceed, when the court session
    3    resumes.
    4
    5                (1)   If a witness was on the stand at adjournment, it is counsel&rsquo;s
    6    duty to have the witness adjacent to, but not on, the stand, ready to proceed
    7    when the court session resumes.
    8                (2)   It is counsel’s duty to notify the courtroom deputy clerk in
    9    advance if any witness should be accommodated by use of the witness stand’s
    10   automated platform which lowers and raises to accommodate witnesses who are
    11   unable to otherwise take the witness stand.
    12
    13        C.     No presenting party may be without witnesses. If counsel has no
    14   more witnesses to call and there is more than a brief delay, the Court may deem
    15   that the party has rested.
    16
    17        D.     The Court attempts to cooperate with physicians, scientists, and
    18   all other professional witnesses and will, except in extraordinary circumstances,
    19   accommodate them by permitting them to be put on out of sequence. Counsel
    20   must anticipate any such possibility and discuss it with opposing counsel. If there
    21   is objection, confer with the Court in advance.
    22
    23   Exhibits:
    24
    25        A.     Each counsel should keep counsel’s own list of exhibits and
    26   should keep track when each has been admitted in evidence.
    27
    28        B.     Each counsel is responsible for any exhibits that counsel secures

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          from the Clerk and, during all recesses and noontime and afternoon adjournments,
    2     counsel must return all exhibits in counsel’s possession to the Clerk.
    3
    4          C.   An exhibit not previously marked should, at the time of its first
    5     mention, be accompanied by a request that the Clerk mark it for identification. To
    6     save time, counsel must show a new exhibit to opposing counsel before it is
    7     mentioned in Court.
    8          D.    Whenever in counsel’s opinion a particular exhibit is admissible,
    9     it should be offered unless tactical considerations dictate otherwise. The motion
    10    to admit will be dealt with at the next available recess if there is objection. No
    11    exhibit shall be read or displayed to the jury until admitted.
    12
    13         E.   When referring to an exhibit, counsel should refer to its exhibit
    14    number whenever possible. Witnesses should be instructed to do the same.
    15
    16         F.   The Court resists taking time to pass an exhibit among the jury
    17    for viewing when it is admitted. A request to do so should be made to the Court in
    18    a recess period preceding introduction of the exhibit.
    19
    20         G.    Absent unusual circumstances, counsel must not ask witnesses to
    21    draw charts or diagrams nor ask the Court’s permission for a witness to do so. If
    22    counsel wishes to question a witness in connection with graphic aids, the material
    23    must be fully prepared before the court session starts.
    24
    25         H.    Exhibit Binders.
    26
    27         1.   Where the volume of exhibits is less than ten binders, Counsel
    28    are to prepare exhibits for trial by placing them in three ring binders that are

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          indexed by exhibit number with tabs or dividers on the right side and indicating on
    2     the spine of the binder the exhibit numbers contained and the volume number. The
    3     exhibits must be numbered in accordance with Fed. R. Civ. P. 16, 26 and the Local
    4     Rules. Counsel shall have the original set (with the exhibit tags affixed to the
    5     upper or lower right hand corner) and a bench copy on the exhibits, three (3)
    6     copies of the exhibit list and three (3) copies of the witness list to the Courtroom
    7     Deputy Clerk on the first day of trial.
    8          2.   Where the volume of exhibits is greater than ten binders Counsel
    9     are to prepare one (1) full set of the exhibits in three ring binders that are indexed
    10    by exhibit number with tabs or dividers on the right side and indicating on the
    11    spine of the binder the exhibit numbers contained and the volume number. Each
    12    exhibit shall have an exhibit tag placed in the upper or lower right hand corner of
    13    the first page of the exhibit. (These are the exhibits that will go to the jury during
    14    deliberations). With regard to exhibits for the Judge and witnesses, there should
    15    be a book for each witness that contains only the exhibits needed for that specific
    16    witness with dividers on the right side. This book should be presented to the
    17    witness when the witness is called. A copy of this book should be provided to the
    18    Judge at the time the witness is called. The Court requires counsel to submit the
    19    full set of exhibits, three (3) copies of the exhibit list and three (3) copies of the
    20    witness list to the Courtroom Deputy Clerk on the first day of trial.
    21
    22    Depositions:
    23
    24         A.    All depositions that will be used in the trial, either as evidence or
    25    for impeachment, must be signed and lodged with the Courtroom Deputy on the
    26    first day of trial or such earlier date as the Court may order. For any deposition in
    27    which counsel is interested, counsel should check with the clerk to confirm that
    28    the clerk has the transcript and that the transcript is properly signed.

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               B.   In using depositions of an adverse party for impeachment,
    2    counsel shall first announce the page and line reference of the passage desired to
    3    be read, and allow opposing counsel an opportunity to state any objection.
    4    Counsel shall use either of the following procedures:
    5
    6                     (1)   If counsel wishes to read the questions and answers as
    7    alleged impeachment and ask the witness no further questions on that subject,
    8    counsel may merely read the relevant portions of the deposition into the record.
    9
    10                    (2)   If counsel wishes to ask the witness further questions on
    11   the subject matter, the deposition is placed in front of the witness and the witness
    12   is told to read silently the pages and lines involved. Then counsel may either ask
    13   the witness further questions on the matter and thereafter read the quotations or
    14   read the quotations and thereafter ask further questions. Counsel should have an
    15   extra copy of the deposition for this purpose.
    16
    17         C.   Where a witness is absent and the witness’ testimony is offered
    18   by deposition, please observe the following procedure. A reader should occupy
    19   the witness chair and read the testimony of the witness while the examining lawyer
    20   asks the questions.
    21
    22   Using Numerous Answers to Interrogatories and Requests for Admissions:
    23
    24         Whenever counsel expects to offer answers to interrogatories or
    25   requests for admissions, the desired discovery shall be read to the jury. Any
    26   objections shall be resolved in advance.
    27   ///
    28   ///

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         Advance Notice of Evidentiary or Difficult Questions:
    2
    3         If counsel has reason to anticipate that a difficult question of law or
    4    evidence will raise legal argument, requiring research and/or briefing, counsel

    5    must give the Court advance notice. Counsel are directed to notify the Clerk at the
    6    day’s adjournment if an unexpected legal issue arises that could not have been
    7    foreseen and addressed by a motion in limine (see Fed. R. Evid. 103). To the
    8    maximum extent possible such matters shall be taken outside normal jury hours
    9    (e.g., recess, before or after the trial day).
    10
    11   Juror Questionnaires:
    12
    13        The Court discourages the use of juror questionnaires except in
    14   complex cases or cases involving juror privacy issues. If a party intends to
    15   propose a questionnaire, the party shall meet and confer with all parties with the
    16   goal of arriving at a joint questionnaire. Any proposed questionnaire shall be
    17   submitted to the Court not later than thirty days prior to trial. The particulars for

    18   administering a questionnaire will be discussed at the pretrial conference.

    19                                           IV.
    20        The Clerk is ordered to serve a copy of this Order on counsel/parties
    21   in this action.
    22
             IT IS SO ORDERED.
    23
    24 DATED: May 18, 2018
    25                                         James V. Selna
                                               United States District Judge
    26
         COPIES TO:
         COUNSEL OF RECORD
    27   PRO SE PARTIES

    28

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